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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

PEN AMERICAN CENTER, INC.,
SARAH BRANNEN, LINDSAY
DURTSCHI, on behalf of herself and
her minor children, BENJAMIN
GLASS, on behalf of himself and his
minor child, GEORGE M.
JOHNSON, DAVID LEVITHAN,
KYLE LUKOFF, ANN
NOVAKOWSKI, on behalf of herself
and her minor child, PENGUIN
RANDOM HOUSE LLC, SEAN
PARKER, on behalf of himself and
his minor child, ASHLEY HOPE
PÉREZ, ERICA ROY, on behalf of            CASE NO.: 3:23-CV-10385-TKW-ZCB
herself and her minor children, and
CHRISTOPHER SCOTT
SATTERWHITE, on behalf of
himself and his minor child,

      Plaintiffs,

vs.

ESCAMBIA COUNTY SCHOOL
BOARD,

      Defendant.
                                      /

  ESCAMBIA COUNTY SCHOOL BOARD’S MOTION FOR ENTRY
  OF A PROTECTIVE ORDER AS TO THE DEPOSITIONS OF THE
       ESCAMBIA COUNTY SCHOOL BOARD MEMBERS,
          SUPERINTENDENT KEITH LEONARD AND
           FORMER SUPERINTENDENT TIM SMITH
        AND INCORPORATED MEMORANDUM OF LAW
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           Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, Defendant,

Escambia County School Board (“Board”), hereby files this Motion for Protective

Order seeking to protect the elected Escambia County School Board members,

Superintendent Keith Leonard and Former Superintendent Tim Smith1 from being

deposed in this case, see Notices of Taking Deposition, attached as Composite

Exhibit A, and in support states:

      I.      INTRODUCTION AND BACKGROUND

           This case arises from the Board’s decisions to either remove or restrict access

to certain books from the libraries in the Escambia County School District

(“District”), and Plaintiffs’ subsequent challenge to these actions. [D.E. 27].

Specifically, Plaintiffs allege violations of their First Amendment rights based on

purported viewpoint discrimination and violation of an alleged right to receive

information in public schools based on the Board’s actions.2 Id. at ¶¶ 215–30.

           On May 31, 2024, Plaintiffs served notices of taking deposition of the Board’s

five elected members (“Notices”) and the District’s Superintendent, Keith Leonard.3



1
  Plaintiffs’ counsel has requested the deposition of Former Superintendent Smith but not yet
issued the notice.
2
    The Court has dismissed Plaintiffs’ remaining count. [D.E. 65].
3
  Plaintiffs have also subpoenaed an Escambia County School District employee, Vicki Baggett,
for deposition. The Board takes no position on Ms. Baggett’s deposition as her actions as relate to
this case fall outside the course and scope of her employment and therefore cannot be imputed
onto the Board.

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See Ex. A. The undersigned conferred with Plaintiffs’ counsel and informed them

that the Board opposed these depositions for numerous reasons:

       1.     The Board members are individually protected by legislative
       privilege;

       2.     The actions or motives of individual Board members are
       irrelevant and cannot be imputed onto the Board as a whole;

       3.    The Board members, Superintendent Leonard and Former
       Superintendent Smith are protected under the apex doctrine, the Board
       Members especially so given the Board’s deliberations concerning
       book removals and restrictions are in the public record pursuant to
       Florida’s Sunshine Law; and

       4.     Per the apex doctrine, prior to deposing the Board members,
       Superintendent Leonard and Former Superintendent Smith Plaintiffs
       are required to exhaust other avenues of discovery first, including but
       not limited to taking a deposition under Federal Rule of Civil Procedure
       30(b)(6).

       Plaintiffs initially declined to accept the Board’s offer of a deposition under

Rule 30(b)(6) prior to seeking depositions of the Board members and Superintendent

Leonard.4 On June 18, 2024, Plaintiffs served a notice of taking deposition pursuant

to Rule 30(b)(6), attached as Exhibit B. This does not alter or render unripe the

relief the Board seeks in this Motion for Protective Order, given, inter alia, the




4
  The parties have agreed that the dates in the Notices are simply placeholder dates, so as to allow
the Court to rule on the Board’s Motion for Protective Order.

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Board’s entitlement to legislative privilege and the protections of the apex doctrine,

as explained infra.5

       Accordingly, the Board now seeks an order from this Court protecting the

Board members—elected officials who serve as the highest-ranking officers of the

Board and District—and Superintendent Leonard and Former Superintendent

Smith—the chief executive of the Board—from compelled testimony. At a

minimum, the Board members are protected by the legislative privilege. However,

even if this Court finds legislative privilege does not apply, it should nonetheless

find the Board members—and Superintendent Leonard and Former Superintendent

Smith—should not be subject to deposition, over objection, unless and until

Plaintiffs have exhausted other discovery and can demonstrate that the Board

members, Superintendent Leonard and Former Superintendent Smith are uniquely

able to provide relevant information that cannot be obtained from other sources.

Because the Board submits Plaintiffs are unable to make such a showing, the Court

should prevent Plaintiffs from taking their requested depositions.

       Because the Board acts as one, its individual members’ motives are not only

irrelevant but protected by legislative privilege. Florida law prohibits any private

deliberations by the Board—and any deliberations concerning book removals and


5
  Plaintiffs agreed to additionally notice the deposition of the Board’s 30(b)(6) witness; however,
Plaintiffs have not agreed to accept such testimony in lieu of the apex witnesses or wait to notice
the apex witnesses until after the Board’s 30(b)(6) witness(es) testify.

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restrictions occurred in the sunshine during a public meeting—and forcing the Board

members to testify would be irrelevant, unduly burdensome, and unnecessarily

cumulative. Should any impermissible discriminatory animus exist by the Board—

which the Board expressly denies—Plaintiffs must find it in the Board’s open and

public debate, to the extent it exists. Plaintiffs are simply not permitted to impute the

individual feelings of the Board’s constituent members to final Board action, and the

compelled examination of elected Board members on undisputed facts is

inconsistent with judicial economy and would be a waste of valuable resources,

especially prior to the exhaustion of other avenues of discovery first, including but

not limited to a Rule 30(b)(6) deposition. Like the Board, Superintendent Leonard

and Former Superintendent Smith are also protected by the apex doctrine and the

same analysis applies

   II.      MEMORANDUM OF LAW

   A. Legal Standard

         Rule 26(c) of the Federal Rules of Civil Procedure allows a party from whom

discovery is sought to move for a protective order, which may be granted upon a

showing of good cause. Odom v. Roberts, 337 F.R.D. 359, 362 (N.D. Fla. 2020).

“Rule 26(c) gives the district court discretionary power to fashion a protective

order.” Farnsworth v. Procter & Gamble, Co., 758 F.2d 1545, 1548 (11th Cir. 1985).

As shown herein, good cause exists to prevent Plaintiffs from taking the depositions


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of the elected Board members, Superintendent Leonard and Former Superintendent

Smith.

       Under the “good cause” standard, the Court must balance the competing

interests of the parties, and has broad discretion in determining whether a protective

order is warranted. Odom, 337 F.R.D. at 362. Rule 26 protects those from whom

discovery is sought from “annoyance, embarrassment, oppression, or undue burden

or expense.” Fed. R. Civ. P. 26(c)(1). Ordinarily, “[t]he burden is on the movant to

show the necessity of the protective order, and the movant must meet this burden

with a ‘particular and specific demonstration of fact as distinguished from

stereotyped and conclusory statements.’” Ekokotu v. Fed. Exp. Corp., 408 F. App’x

331, 336 (11th Cir. 2011) (quoting United States v. Garrett, 571 F.2d 1323, 1326

n.3 (5th Cir. 1978)).6 However, “when it comes to a high-ranking official’s

deposition, the default is to disallow it.” Harvard v. Dixon, No. 4:19-cv-212-AW-

MAF, ECF No. 400, at 2 (N.D. Fla. May 26, 2022) (citing In re United States

(Kessler), 985 F.2d 510, 513 (11th Cir. 1993)).

       This is because “courts have held that depositions of high-ranking officials

are disfavored.” League of Women Voters of Fla., Inc. v. Lee, No. 4:21-CV-186-

MW-MAF, 2021 WL 4962109, at *1 (N.D. Fla. Oct. 19, 2021) (citing Kessler, 985


6
  Decisions of the Court of Appeals for the Fifth Circuit decided prior to October 1, 1981, are
binding precedent in the Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th
Cir. 1981).

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F.2d at 512) (explaining that “[t]he reason for requiring exigency before allowing

the testimony of high officials is obvious. High ranking government officials have

greater duties and time constraints than other witnesses”)); see also In re United

States (Jackson), 624 F.3d 1368, 1372 (11th Cir. 2010) (finding courts must “review

the record to determine whether it supports a finding of extraordinary circumstances

or a ‘special need’ for compelling the appearance of a high-ranking officer in a

judicial proceeding,” because of the “obvious practical implications of requiring

high government officials to appear in judicial proceedings”).7

       “Courts have generally restricted parties from deposing high-ranking officials

because (by virtue of their position) they ‘are vulnerable to numerous, repetitive,

harassing, and abusive depositions, and therefore need some measure of protection

from the courts.’” Brown v. Branch Banking & Tr. Co., No. 13-81192-CIV, 2014

WL 235455, at *2 (S.D. Fla. Jan. 22, 2014) (quoting In re Bridgestone/Firestone,

Inc. Tires Products Liab. Litig., 205 F.R.D. 535, 536 (S.D. Ind. 2002)); see also

United States v. Morgan, 313 U.S. 409, 422 (1941); Celorio v. Google Inc., No.

1:11-CV-79-SPM-GRJ, 2012 WL 12861605, at *1 (N.D. Fla. Nov. 19, 2012). “As a

result, the burden is on the party seeking to depose a high-ranking official to




7
  As this Court has noted, the ability of high-ranking officials to “seek mandamus to challenge
orders requiring their testimony” “is another indication of how disfavored the discovery is.”
Harvard, ECF No. 400, at 2 n.1.

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demonstrate why a protective order should not issue.” Harvard, ECF No. 400, at 3

(citations omitted).

      Here, the Board’s initial burden of demonstrating that its members,

Superintendent Leonard and Former Superintendent Smith are high-ranking, Odom,

337 F.R.D. at 364, is easily met. Each of the Board members Plaintiffs seek to depose

are constitutional officials duly elected by the citizens of Escambia County, Florida.

See Art. IX, § 4, Fla. Const.; § 1001.361, Fla. Stat. Control of the District is vested

in the Board. §§ 1001.41–.42, Fla. Stat. Superintendent Leonard and Former

Superintendent Smith is or was likewise a constitutional officer and the chief

executive of the Board. Art. IX, § 5, Fla. Const.; §§ 1001.33, 1001.50, Fla. Stat.

Thus, “the burden [i]s on [P]laintiffs from the outset” to justify depositions of the

Board members and Superintendent Leonard. Harvard, ECF No. 400, at 3 n.3.

Plaintiffs cannot meet this burden.

   B. Argument

      i.     The Board members are protected by legislative privilege.

      The concept of legislative privilege against testifying is well-established in

federal courts. See Vill. of Arlington Heights v. Metro. Housing Dev. Corp., 429 U.S.

252, 268 (1977); accord Tenney v. Brandhove, 341 U.S. 367 (1951); United States

v. Nixon, 418 U.S. 683 (1974). As the Supreme Court has recognized, “judicial

inquiries” into the motivations underlying legislative decisions “represent a


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substantial intrusion into the workings of other branches of government.” Arlington

Heights, 429 U.S. at 268 n.18. This privilege, although qualified, has been described

as protecting officials from having “to testify in [a] civil case about the reasons for

their votes.” Florida v. United States, 886 F. Supp. 2d 1301, 1304 (N.D. Fla. 2012).

In recognizing such a privilege for state legislators in Florida, this Court denied a

motion to compel legislators and their staff to appear for depositions. See id. (“The

privilege is broad enough to cover all the topics that the intervenors propose to ask

[the legislators] and to cover their personal notes of the deliberative process.”); see

also Pernell v. Fla. Bd. of Governors of State Univ., 84 F.4th 1339, 1343–44 (11th

Cir. 2023) (noting legislative privilege extends to discovery requests, including

requests for factual information). Nothing here compels a different result.

      As this Court has explained, “legislative immunity and privilege are ‘parallel

concept[s],’ and the privilege ‘exists to safeguard’ the immunity.” Florida v. Byrd,

674 F. Supp. 3d 1097, 1103 n.2 (N.D. Fla. 2023) (alteration in original) (quoting

E.E.O.C. v. Wash. Suburban Sanitary Comm’n, 631 F.3d 174, 180–81 (4th Cir.

2011)); see also Lee v. City of Los Angeles, 908 F.3d 1175, 1187 (9th Cir. 2018)

(“While Tenney’s holding rested upon a finding of immunity, its logic supports

extending the corollary legislative privilege from compulsory testimony to state and

local officials as well.”); In re Hubbard, 803 F.3d 1298, 1310 (11th Cir. 2015) (citing

Tenney and noting the “importan[ce]” of the legislative privilege).


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      Given the parallel nature of these concepts, it only follows that just as

legislative immunity attaches to local officials, Bogan v. Scott-Harris, 523 U.S. 44,

49 (1998), so too does legislative privilege. See Byrd, 647 F. Supp. 3d at 1103 n.2;

see also Lee, 908 F.3d at 1187 (holding local official “may invoke legislative

privilege”); Benisek v. Lamone, 241 F. Supp. 3d 566, 573 (D. Md. 2017) (“[T]he

Supreme Court has developed a [common law] doctrine of immunity that shields

state, regional, and local officials from civil liability based on their actions taken ‘in

the sphere of legitimate legislative activity.’ . . . Because legislative immunity and

legislative privilege are motivated by the same policy of comity, courts apply them

in a parallel manner.” (quoting Tenney, 341 U.S. at 376)); Doe v. Nebraska, 788 F.

Supp. 2d 975, 984 (D. Neb. 2011) (“[L]ocal officials may be protected from

testifying[.]”); cf. Jefferson Cmty. Health Care Ctrs., Inc. v. Jefferson Par. Gov’t,

849 F.3d 615, 624 (5th Cir. 2017) (assuming arguendo that local councilmembers’

reasons for passing resolutions were “privileged in the sense that they cannot be

directly compelled to disclose them”).

      Further, there is no reason to not consider the Board members—duly elected

constitutional officers, each representing a local geographic area within the

District—as falling outside the universe of local officials protected by the legislative

privilege; they should therefore be protected from compelled depositions in this

matter. See, e.g., Doe v. Metro. Gov’t of Nashville & Davidson Cnty., Nos. 3:20-cv-


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01023, 3:21-cv-00038, 3:21-cv-00122, 2021 WL 5882653, at *4 (M.D. Tenn. Dec.

13, 2021) (“[T]he Court finds that the legislative privilege precludes the noticed

depositions of the school board members . . . .”); Cunningham v. Chapel Hill ISD,

438 F. Supp. 2d 718, 722 (E.D. Tex. 2006) (protecting school board member from

being deposed as to legislative act, finding “that the rationales for applying the

testimonial privilege to federal, state, and regional legislators apply with equal force

to local legislators,” and such officials “are protected by the testimonial privilege

from having to testify about actions taken in the sphere of legitimate legislative

activity”); see also Smith v. Jefferson Cnty. Bd. of Sch Comm’rs, 641 F.3d 197, 218

(6th Cir. 2011) (extending legislative immunity to school board members); Minton

v. St. Bernard Par. Sch. Bd., 803 F.2d 129, 135 (5th Cir. 1986) (commenting that

school board members could raise legislative immunity argument on remand);

Cincotta v. Hempstead Union Free Sch. Dist., 313 F. Supp. 3d 386, 401 (E.D.N.Y.

2018) (determining superintendent and school board members were “entitled to

absolute legislative immunity”); Callaway v. Hafeman, 628 F. Supp. 1478, 1486

(W.D. Wis. 1986) (finding it “inescapable” to deny legislative immunity to school

board members); accord Wilson v. Marshall Indep. Sch. Dist., No. 2:09-CV-273-

DF-CE, 2011 WL 1431410, at *5 (E.D. Tex. Feb. 1, 2011) (same); Stepian v.

Schaubert, No. 08CV487A, 2010 WL 1875763, at *8 (W.D.N.Y. Feb. 23, 2010)

(same); cf. Cooper v. Aaron, 358 U.S. 1, 16 (1958) (describing “members of the


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School Board and the Superintendent of Schools” as “local officials”); Bd. of Pub.

Instruction of Duval Cnty. v. Braxton, 402 F.2d 900, 908 (5th Cir. 1968) (Coleman,

J., specially concurring) (referring to “local school boards” as “duly chosen local

officials”).

       Any question as to the privilege’s application is dispelled given the Board

members are each duly elected officials. Cf. Spallone v. United States, 493 U.S. 265,

279 (1990) (noting legislative privilege is “derive[d]” “from the will of the people”

(quoting Coffin v. Coffin, 4 Mass. 1, 27 (1808))). And despite not being named as

individual parties to the suit, the privilege applies to the Board members regardless.

See In re Hubbard, 803 F.3d at 1308.

       “The legislative privilege ‘protects against inquiry into acts that occur in the

regular course of the legislative process and into the motivation for those acts.’” Id.

at 1310 (quoting United States v. Brewster, 408 U.S. 501, 525 (1972)). Here, the

Court should find that “the factual heart” of Plaintiffs’ claims “and the scope of the

legislative privilege [a]re one and the same.” Id. at 1311. That is, “[a]ny material,

documents, or information [including testimony] that d[o] not go to legislative

motion [are] irrelevant,” and “any that d[o] go to legislative motive [are] covered by

the legislative privilege.” Id. Such was the Eleventh Circuit’s decision in In re

Hubbard, which concerned a First Amendment retaliation claim, and the Court

should find likewise here given this is also a First Amendment matter. See id. at


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1311–12 ( “[T]he Supreme Court has explained that, for purposes of the legislative

privilege, there is a fundamental difference between civil actions by private plaintiffs

and criminal prosecutions by the federal government.” (citing United States v.

Gillock, 445 U.S. 360, 373 (1980))); see also Pernell, 84 F.4th at 1344 (“The

Supreme Court has never expanded the Gillock exception beyond criminal cases.

For purposes of the legislative privilege, there is a fundamental difference between

civil actions by private plaintiffs and criminal prosecutions by the federal

government. Although the legislative privilege does not presumptively apply in the

latter kind of case, the presumption otherwise holds firm. And it is insurmountable

in private civil actions under section 1983.” (cleaned up) (emphases added)).

      Like In re Hubbard, “[t]his is not a federal criminal investigation or

prosecution.” 803 F.3d at 1312. This is a civil matter under 42 U.S.C. § 1983, and

thus “the presumption [of applying the privilege] holds firm.” Pernell, 84 F.4th at

1344; e.g., Byrd, 374 F. Supp. 3d at 1104 (applying legislative privilege while

“acknowledge[ing] that allegations of racial gerrymandering are serious matters”);

Florida, 886 F. Supp. 2d at 1303–04 (reasoning similarly in Voting Rights Act case);

see also League of Women Voters of Fla., Inc. v. Lee, 340 F.R.D. 446, 456 (N.D.

Fla. 2021) (“[M]erely asserting a constitutional claim is not enough to overcome the

privilege.”).




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      Given the Eleventh Circuit’s description of the privilege as “unqualified” in

civil matters, Pernell, 84 F.4th at 1341, it indisputably applies here. Although

unspecified in the Notices, given the allegations in the operative pleading and

Plaintiffs’ arguments thus far, the Board presumes Plaintiffs intend to depose the

Board members about their “subjective states-of-mind,” Byrd, 374 F. Supp. 3d at

1104, and the circumstances and motivations surrounding the individual Board

members’ decisions to vote in favor, vel non, of removing or restricting certain

books. See, e.g., [D.E. 27 at ¶¶ 4–5 (Plaintiffs’ Amended Complaint, claiming the

Board is ordering books to be removed from libraries based on ideological reasons

and engaging in viewpoint discrimination); D.E. 40 at 5–9 (Plaintiffs’ Response in

Opposition to the Board’s Motion to Dismiss, recounting allegations of purported

viewpoint discrimination with respect to Board’s actions towards removed and

restricted books)]; see also Ex. B. These “topics strike at the heart of legislative

privilege.” See Byrd, 674 F. Supp. 3d at 1104. “The testimony Plaintiffs seek all

relates to . . . thought processes, and decision making processes in voting [whether

or not to remove or restrict access to the books at issue].” Id. (citation omitted). “The

privilege thus ‘applies with full force’” to Plaintiffs’ Notices. Id. (quoting In re

Hubbard, 803 F.3d at 1310).

      Despite the unqualified and unequivocal nature in which the legislative

privilege applies to the Board members in this matter, the Board anticipates Plaintiffs


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will argue the acts in question—voting to remove or restrict the books at issue—

were not legislative in nature. Not so. “Whether an act is legislative turns on the

nature of the act, rather than on the motive or intent of the official performing it.”

Bogan, 523 U.S. at 54. For example, certain discretionary personnel decisions are

not considered legislative. Forrester v. White, 484 U.S. 219, 229–30 (1988). On the

other hand, employment decisions “accomplished through traditional legislative

functions such as policymaking and budgetary restructuring” are considered

legislative. Bryant v. Jones, 575 F.3d 1281, 1306 (11th Cir. 2009) (quoting Acevedo-

Garcia v. Vera-Monroig, 204 F.3d 1, 8 (1st Cir. 2000)). An analysis of the Board’s

actions reveals their legislative nature.

       Under Florida law, the Board “has the specific duty and responsibility [to be]

responsible for the content of any materials made available in a school library.” §

1006.28(2)(a)1., Fla. Stat. (2022) (cleaned up). The Board was thus required to

“adopt a policy regarding an objection by a parent or a resident of the county to the

use of a specific material, which clearly describes a process to handle all objections

and provides for resolution.” § 1006.28(2)(a)2., Fla. Stat. (2022).8 Pursuant to that


8
  Section 1006.28(2)(a)2.b. specifically references “material[s] . . . made available in a school
library.” The statute further requires any material which a school board finds “contains prohibited
content under [section 1006.28(2)(a)2.b.] shall [be] discontinue[d] [from] use . . . for any grade
level or age group for which such use is inappropriate or unsuitable.” Id. To ‘discontinue’ therefore
means the book can no longer be offered or provided, that is, it must be removed and its access cut
off. See, e.g., Discontinue, Cambridge Dictionary,
https://dictionary.cambridge.org/us/dictionary/english/discontinue (“to stop doing or providing
something” (emphasis added)); Discontinue, Britannica Dictionary,

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duty, the Board was therefore required to offer a “resolution” when the books at

issue were challenged. Id.

       Given the statutory mandate, this cannot be considered an administrative act:

the Board “in the furtherance of [its] dut[y],” see also Hernandez v. City of Lafayette,

643 F.2d 1188, 1193 (5th Cir. May 1981), pursuant to an established process,

followed the law of the State of Florida, and provided the statutorily required

resolution. See Schlegel v. Koteski, 307 F. App’x 657, 660 (3d Cir. 2009). And the

votes to remove or restrict certain books were prospective and “had a substantial

nexus to the legislative process.” Bryant, 575 F.3d at 1306. Just as the decision to

eliminate a public employment position “may have prospective implications that

reach well beyond the particular occupant of the office,” Bogan, 523 U.S. at 56, so

too is the decision to vote to remove or restrict a book legislative in that it has

prospective implications that reaches the entirety of the District’s libraries; that is,

the vote “embod[ied] a policy decision with prospective implication.” Bryant, 575

F.3d at 1306; see also Smith, 641 F.3d at 217 (finding school board engaged in

legislative activity when it made decision to eliminate alternative school as a result

of weighing budgetary priorities).

       Similarly, just as a county’s imposition of a building moratorium on property

pursuant to a county code provision was deemed legislative in nature, 75 Acres, LLC


https://www.britannica.com/dictionary/discontinue (“to stop making or offering”).

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v. Miami-Dade Cnty., 338 F.3d 1288, 1296 (11th Cir. 2003), so too is the decision

to remove or restrict a book pursuant to the Board’s policy. See also Ellis v. Coffee

Cnty. Bd. of Registrars, 981 F.2d 1185, 1190 (11th Cir. 1993) (finding county

commissioners “clearly were performing their legislative function” when they

investigated the voting eligibility of individuals and ultimately participated in the

removal of their names from voting lists); see also Brown v. Crawford Cnty., 960

F.2d 1002, 1011 (11th Cir. 1992) (“[A] legislative act is characterized by having a

policymaking function and general application.”).

      This is because “voting, debate and reacting to public opinion are manifestly

in furtherance of legislative duties.” DeSisto Coll., Inc. v. Line, 888 F.2d 755, 765

(11th Cir. 1989). The Eleventh Circuit has “has concluded that ‘the vote of a city

councilman constitutes an exercise of legislative decision-making,’ which entitles

such city council member to absolute immunity since voting is a legislative

function.” Hudgins v. City of Ashburn, 890 F.2d 396, 406 n.20 (11th Cir. 1989)

(quoting Espanola Way Corp. v. Meyerson, 690 F.2d 827, 829 (11th Cir. 1982));

accord Healy v. Town of Pembroke Park, 831 F.2d 989, 993 (11th Cir. 1987). A vote

by a school board member yields the same conclusion: it is “conduct in the

furtherance of their duties,” Hernandez, 643 F.2d at 1193, and therefore it serves as

a legislative function. Hudgins, 890 F.2d at 406 n.20; see also Yeldell v. Cooper

Green Hosp., Inc., 956 F.2d 1056, 1062 (11th Cir. 1992) (“Acts such as voting . . .


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are generally deemed legislative and, therefore, protected by the doctrine of

legislative immunity.” (collecting cases)).

      That Plaintiffs may argue the Board members’ votes to remove or restrict the

books at issue were motivated by an improper purpose does not change this analysis,

as “[t]he claim of an unworthy purpose does not destroy the privilege.” Tenney, 341

U.S. at 377; see also Pernell, 84 F.4th at 1345 (“Even if the privilege could be

overcome by especially compelling civil-rights claims, we reject the plaintiffs’

argument that the privilege must give way when the claim depends on proof of

legislative intent. The Supreme Court has described legislative immunity as

‘indispensably necessary’ as it ‘support[s] the rights of the people, by enabling their

representatives to execute the functions of their office.’” (alteration in original)

(emphasis added) (quoting Tenney, 341 U.S. at 373–74)). “A court proceeding that

probes legislators’ subjective intent in the legislative process is a deterrent to the

uninhibited discharge of their legislative duty,” and courts “cannot create an

exception whenever a constitutional claim directly implicates the government’s

intent” because “that exception would render the privilege of little value.” Pernell,

84 F.4th at 1345 (cleaned up); see also Tenney, 341 U.S. at 377.

      Thus, it cannot be disputed that the Board’s actions in deciding to remove or

restrict certain books were legislative in nature. They involved a vote, after hearing

public opinion on the books and subsequent debate by the Board, as required by law.


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DeSisto Coll., Inc., 888 F.2d at 765; accord Woods v. Gamel, 132 F. 3d 1417, 1420

(11th Cir. 1998) (finding county commissioners’ deliberations and vote on budget,

as required under state law, was legislative in nature). In deciding to remove or

restrict these books, the Board was exercising its authority under Florida law, and

“[i]n casting their votes,” the Board members were performing their duties “under

state law and exercising a quintessentially legislative function.” Holley v. City of

Roanoke, 162 F. Supp. 2d 1335, 1342 (M.D. Ala. 2001). Requiring the Board

members to testify as to their motives and underlying thoughts concerning their

decision to remove or restrict the books at issue would eviscerate the privilege’s

purpose, which is to protect the “legislative process itself.” In re Hubbard, 803 F.3d

at 1307–08. Moreover, it would cut against the privilege’s “additional purpose of

shielding officials from the costs and distraction of discovery,” designed to “enabl[e]

them to focus on their duties.” Byrd, 674 F. Supp. 3d at 1103.

      The Board thus respectfully submits this Court should follow the “long-

recognized legislative privilege” which counsels that “courts ought not compel

unwilling [officials] to testify about the reasons for specific . . . votes,” Florida, 886

F. Supp. 2d at 1303, find the Board members entitled to legislative privilege, and

shield them from involuntary examinations in this matter.




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   ii.      A Board member’s individual opinions are not imputed onto the
            Board and are not considered final Board action.

         Another reason to prohibit the Board members from being deposed is that

comments by individual board members are not imputed to the body of which they

are a member. See Church v. City of Huntsville, 30 F.3d 1332, 1343 (11th Cir. 1994)

(“The plaintiffs may not prevail on the basis of the actions or words of a single

councilmember . . . .”). Rather, the Board acts “as a board” in exercising its powers

and duties under Florida law. § 1001.42, Fla. Stat.; see K.M. v. Sch. Bd. of Lee Cnty.,

150 F. App’x 953, 957 (11th Cir. 2005) (noting Florida law vests “final

policymaking authority for the school district” “in the School Board,” and not any

individual); Fla. Fam. Ass’n Inc. v. Sch. Bd. of Hillsborough Cnty., 494 F. Supp. 2d

1311, 1323 (M.D. Fla. 2007). Errant comments by individual Board members do not

equate to formal Board action.

         Allowing Plaintiffs to depose the individual Board members would cut against

this legal principle as it would permit Plaintiffs to attempt to apply the purported

opinions of individual Board members’ as a gloss to the final decision of the Board.

This is not the law, as the alleged “unconstitutional motive on the part of one member

of a . . . majority is insufficient to impute an unconstitutional motive to the [Board]

as a whole.” Matthews v. Columbia Cnty., 294 F.3d 1294, 1297 (11th Cir. 2002); see

also id. (“Because policymaking authority rests with the Commission as an entity,

the County can be subject to liability only if the Commission itself acted with an

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unconstitutional motive.”); Campbell v. Rainbow City, 434 F.3d 1306, 1313 (11th

Cir. 2006) (“An improper motive of one of the members of a nine-member Planning

Commission is not imputed to the rest of the Commission.”); Mason v. Vill. of El

Portal, 240 F.3d 1337, 1339 (11th Cir. 2001) (finding alleged discriminatory motive

“of only one member of a three-member majority of a five-member council” could

not give rise to the municipality’s liability); Dixon v. Burke Cnty., 303 F.3d 1271,

1276 (11th Cir. 2002) (finding no liability because “no municipal liability can attach

for one tainted vote out of twelve cast”); Rolle v. Worth Cnty. Sch. Dist., 128 F.

App’x 731, 733 (11th Cir. 2005) (“[A]n improper motive of one member does not

impart discrimination on the entire Board.”); Church, 30 F.3d at 1343 (“The

plaintiffs concede that, under Alabama law, final policymaking authority rests with

the entire five-member City Council and the Mayor . . . .”); accord City of

Hallandale Beach v. Rosemond, 48 Fla. L. Weekly D1199, 2024 WL 2836937, at *7

(Fla. 4th DCA June 5, 2024) (“The city can be subject to whistleblower retaliation

liability only if the employee had presented competent substantial evidence at trial

that Commissioners Lazarow and Lima-Taub, like Vice Mayor London, may have

acted with retaliatory motives in voting to suspend and terminate the employee.”);

cf. Common Cause Fla. v. Byrd, No. 4:22-cv-109-AW-MAF, 2024 WL 1308119, at

*28 (N.D. Fla. Mar. 27, 204) (“It is not enough for the plaintiffs to show that the

Governor was motivated in part by racial animus, which we will assume without


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deciding for purposes of our decision. Rather, they also must prove that the Florida

Legislature itself acted with some discriminatory purpose when adopting and

passing the Enacted Map.”).

          Because the Board members are high-ranking officials, Plaintiffs’ burden is

to demonstrate “extraordinary circumstances” prior to any deposition. Plaintiffs have

not met this burden. And given the Board is required by law to deliberate publicly,

Plaintiffs will never be able to show that the majority which voted to remove or

restrict the books at issue acted with an impermissible motive—nor have Plaintiffs

provided any evidence of such an impermissible motive or private deliberations. Cf.

Ga. Ass’n of Educators v. Gwinnett Cnty. Sch. Dist., 856 F.2d 142, 144 (11th Cir.

1988) (noting affidavits which stated school board members’ publicly stated reason

for terminating a program differed from “the real reason” for terminating the

program). Accordingly, any attempts to bootstrap post hoc impermissible motives to

the Board members via compelled deposition testimony should not be allowed.

   iii.      Plaintiffs cannot overcome the apex doctrine or, at the very least, must
             exhaust other avenues of discovery first.

          “The rationale [behind prohibiting apex depositions] is that ‘high-ranking’

officials could be burdened unduly if they were required to submit to a deposition in




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the multitude of civil actions that some government agencies and businesses face.”9

Odom, 337 F.R.D. at 363. “For high-ranking government officials, the time

consumed by depositions necessarily cannot be devoted to important governmental

responsibilities.” Id.

       Each of the elected Board members are constitutional officials, vested with

control of the District. See Art. IX, § 4, Fla. Const.; §§ 1001.361, 1001.41–.42, Fla.

Stat. As such, they are protected from being called to provide testimony in all but

the most unique circumstances. Board members, like agency or corporate heads, are

the highest-ranking officials in the Board and are vested with constitutional and

statutory authority over the District. See, e.g., N.R. ex rel. Ragan v. Sch. Bd. of

Okaloosa Cnty., 608 F. Supp. 3d 1159, 1162 n.1 (N.D. Fla. 2022) (“[T]he Okaloosa

County School Board . . . operates, controls, and supervises all schools within the

School District, including appointing, suspending, and terminating employees.”);

Leigh v. Avossa, No. 16-81612-CIV-Marra/Matthewman, 2017 WL 2800121, at *2

(S.D. Fla. June 14, 2017) (acknowledging would-be deponent “is a current member

of the Palm Beach County School Board” in determining plaintiff had not satisfied

apex deposition burden); Santiago v. Jamison, No. 2:13-cv-781-FtM-29CM, 2014

WL 4373269, at *2 (M.D. Fla. Sept. 3, 2014) (“[T]he School Board of Lee County


9
  The apex doctrine is also codified in Florida civil procedure, see Fla. R. Civ. P. 1.280(h), and
like its federal counterpart has been found to protect both current and former high-ranking officials.
See Horne v. Sch. Bd. of Miami-Dade Cnty., 901 So. 2d 238, 241 (Fla. 1st DCA 2005).

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. . . is an elected body with control over public education within the county, and a

Sponsor statutorily charged with the promulgation, monitoring, and adopting of

disciplinary policies within the school district.”); see also Chabad Chayil, Inc. v.

Sch. Bd. of Miami-Dade Cnty., 48 F.4th 1222, 1230 (11th Cir. 2022) (noting “the

district is ‘under the direction and control’ of the school board”); cf. Florida v.

United States, 625 F. Supp. 3d 1242, 1248 (N.D. Fla. 2022) (“The apex doctrine has

regularly been applied to government officials who sit atop an agency’s

organizational chart.”).

      The same is true for Superintendent Leonard and Former Superintendent

Smith, who is or was a constitutional official and chief officer of the Board. Art. IX,

§ 5, Fla. Const.; § 1001.33, 1001.50, Fla. Stat.; see, e.g., N.R. ex rel. Ragan v. Sch.

Bd. of Okaloosa Cnty., 418 F. Supp. 3d 957, 972 n.4 (N.D. Fla. 2019) (“As

Superintendent, Jackson was the executive officer of the School Board, tasked with

implementing and enforcing School District policies set out by the School Board, as

well as supervising and disciplining employees.”). And as this Court has recognized,

the apex doctrine extends to former high-ranking officials as well. See Harvard, ECF

No. 400 at 3 n.2; see also Palmisano v. Paragon 28, Inc., No. 21-60447-CIV-

DIMITROULEAS/SNOW, 2021 WL 1686948, at *3 (S.D. Fla. Apr. 7, 2021)

(finding former CEO’s “deposition . . . is subject to the apex doctrine”); Plaintiff 1

v. Washington Cnty. Sch. Bd., No. 5:07-CV-194-RS-EMT, 2008 WL 11462924, at


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*3 (N.D. Fla. Feb. 15, 2008) (applying apex doctrine to DJJ Secretary/former FDC

Secretary); Cruz v. Green, No. 18-60995-CIV, 2019 WL 5208913, at *3 (S.D. Fla.

Feb. 7, 2019) (applying apex doctrine to former sheriff). Plaintiffs seek to depose

the Board’s former superintendent, Tim Smith; therefore, the same arguments for

precluding Superintendent Leonard’s deposition would therefore equally apply to

Smith.10

        Although there is no exact standard for determining whether an official is

high-ranking and the decision is “made on a case-by-case basis,” Florida, 625 F.

Supp. 3d at 1246, the Board easily satisfies its burden here for its members and

Superintendent Leonard. As this Court has noted, the doctrine encompasses more

than just “‘cabinet-level’ officials,” extending to the “heads of government

agencies.” Id. (first quoting United States v. Sensient Colors, Inc., 649 F. Supp. 2d

309, 320 (D.N.J. 2009), and then quoting Kyle Eng’g Co. v. Kleppe, 600 F.2d 226,

231 (9th Cir. 1979)). Accordingly, because the Board members constitute the

policymaking body for the District and Superintendent Leonard serves as the

executive officer for implementing those policies, there can be no reasonable dispute

as to their respective statuses atop the District’s organizational chart. Id. The burden

therefore shifts to Plaintiffs to justify these depositions.


10
  Although Plaintiffs have not yet served a notice of taking deposition as to former Superintendent
Smith, Plaintiffs have indicated they intend to subpoena him for deposition, and the parties have
agreed to engage in motion practice as to his deposition as well.

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      “When a party, as here, seeks to take the deposition of an official at the highest

level of a [government entity] a stricter standard applies to the party seeking

discovery and the court may exercise its authority under the federal rules to limit

discovery.” Celorio, 2012 WL 12861605, at *1. “The rationale is that high level

executives and government officials need some measure of protection from the

courts because they are ‘vulnerable to numerous, repetitive, harassing, and abusive

depositions.’” Asberry v. Sch. Bd. of Pasco Cnty., No. 8:18-cv-02222-T-35SPF,

2019 WL 12383128, at *1 (M.D. Fla. Aug. 20, 2019) (quoting Sher v. Raytheon Co.,

No. 8:08-CV-889-T-33AEP, 2010 WL 11507786, at *1 (M.D. Fla. Mar. 10, 2010)).

      “In determining whether to allow an apex deposition[,] courts consider: (1)

whether the deponent has unique first-hand, non-repetitive knowledge of facts at

issue in the case and (2) whether the party seeking the deposition has exhausted other

less intrusive discovery methods, such as interrogatories and depositions of lower

level employees.” Celorio, 2012 WL 12861605, at *1; Apple Inc. v. Corellium, LLC,

No. 19-81160-CV, 2020 WL 1849404, at *3 (S.D. Fla. Apr. 13, 2020); see also

Asberry, 2019 WL 12383128, at *1 (“[P]arties seeking apex depositions must show

that the apex deponent has ‘unique knowledge of the issues in the case or the

information sought has been pursued unsatisfactorily through less intrusive

means.’”).




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      The apex doctrine extends beyond depositions and equally applies to

testimonial evidence. Kessler, 985 F.2d at 512 (“In order to protect officials from

constant distraction of testifying in lawsuits, courts have required that defendants

show a special need or situation compelling such testimony”; for this reason high

ranking government officials “should not, absent extraordinary circumstances, be

called to testify regarding their reasons for taking official actions”); see also Bogan

v. City of Boston, 489 F.3d 417, 423 (1st Cir. 2007) (“[T]op executives should not,

absent extraordinary circumstances, be called to testify or deposed regarding their

reasons for taking official action.”); City of Fort Lauderdale v. Scott, No. 10-61122-

CIV, 2012 WL 760743, at *2 (S.D. Fla. Mar. 7, 2012) (“[C]ourts have recognized

that [high-ranking government officials] should not be called to testify or be deposed

about their reasons for taking official action, absent extraordinary circumstances.”).

      Here, Plaintiff seeks to take the apex depositions of the Board members,

Superintendent Leonard and Former Superintendent Smith about their motives,

procedures, and deliberations regarding the removal or restriction of books from the

District’s public school libraries. These are the types of inquiries the apex doctrine

precludes. See Morgan, 313 U.S. at 422 (finding Secretary of Labor “should not,

absent extraordinary circumstances, [have] be[en] called to testify regarding their

reasons for taking official actions”); see also Kessler, 985 F.2d at 512; accord

Simplex Time Recorder v. Secy. of Labor, 766 F.2d 575, 586 (D.C. Cir. 1985); cf. In


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re Office of Inspector Gen., 933 F.2d 276, 278 (5th Cir. 1991) (agreeing with the

holding in Simplex and cautioning the district court to “remain mindful of the fact

that exceptional circumstances must exist before the involuntary depositions of high

agency officials are permitted”).

       Once an official shows he or she is “high-ranking,” the party seeking the apex

testimony must show that: “(1) deposing the official is necessary to obtain relevant,

‘first-hand’ information; (2) the information possessed by the official is important

to the case; (3) the [testimony] would not significantly interfere with the ability of

the official to perform his government duties or reasonable accommodations could

ameliorate such interference; and (4) the evidence sought is not reasonably available

through less-burdensome means or alternative sources.” Odom, 337 F.R.D. at 365.

Plaintiffs must make “a showing beyond mere relevance” before they can take these

depositions. See League of Women Voters, 2021 WL 4962109, at *1. If mere

relevance were the standard, agency heads would be subject to deposition anytime a

lawsuit is filed regarding an agency’s policy or practice. See Morgan, 313 U.S. at

422.

       Even assuming the Board members, Superintendent Leonard and Former

Superintendent Smith possess relevant information that is not already in the public

record, Plaintiffs have not explained how any unique personal knowledge of the

Board members, Superintendent Leonard and Former Superintendent Smith is


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essential to their claims. Harvard, ECF No. 400 at 5. That is because “[f]inal

decision makers will always have some unique knowledge about their decision-

making processes and the underlying information that informed them, but this is not

enough.” Id. (emphasis added). Moreover, and as explained below, Plaintiffs have

not yet shown—let alone exhausted—they “could not obtain the information using

other discovery tools.” Id. This includes their decision to notice a Rule 30(b)(6)

deposition only after noticing the Board members and Superintendent Leonard, and

only then because the Board suggested it; but to simultaneously persist in their

efforts to depose the apex witnesses.

         Here, Defendant understands that Plaintiffs seek to compel the Board

members, Superintendent Leonard and Former Superintendent Smith to provide

testimony about their (1) motives—which is improper for reasons more fully set

forth herein—(2) procedures—which can be obtained from the Rule 30(b)(6)

witness the Board offered to put forth—and (3) their deliberations—which are

clearly documented in the public record. Plaintiffs have offered no “unique

knowledge” that these prospective witnesses possess, nor have they taken action to

obtain this testimony from less intrusive means.

   iv.      Any deliberations by the Board members’ occurred in the sunshine.

         Plaintiffs seek to examine the Board members on their deliberations regarding

the removal or restriction of books from District libraries. This testimony would be


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irrelevant, unduly burdensome, and improper, as covered supra. Additionally

Florida law prohibits private discussions and deliberations amongst school board

officials, and Plaintiffs have provided no evidence demonstrating this was not the

case with respect to the Board’s decisions concerning the books at issue. To that end,

because the Board members’ deliberations—to the extent they exist—occurred in

the sunshine, forcing the Board members to sit for compelled depositions would be

a waste of resources and cumulatively burdensome.

      It is well-settled that an entity such as the Board is subject to Florida’s

‘Sunshine Law.’ § 286.011, Fla. Stat; see, e.g., Fla. Citizens All., Inc. v. Sch. Bd. of

Collier County, 328 So. 3d 22, 27 (Fla. 2d DCA 2021). The Sunshine Law provides:

      All meetings of any board or commission of any state agency or
      authority or of any agency or authority of any county, municipal
      corporation, or political subdivision, except as otherwise provided in
      the Constitution, including meetings with or attended by any person
      elected to such board or commission, but who has not yet taken office,
      at which official acts are to be taken are declared to be public meetings
      open to the public at all times, and no resolution, rule, or formal action
      shall be considered binding except as taken or made at such meeting.
      The board or commission must provide reasonable notice of all such
      meetings.

§ 286.011(1), Fla. Stat. “The purpose of the Sunshine Law is to protect the public

from closed door politics; therefore, the law must be broadly construed to effect its

remedial and protective purpose.” Fla. Citizens All., Inc., 328 So. 3d at 26 (internal

quotations omitted). More specifically, the Sunshine Law exists “to prevent at non-

public meetings the crystallization of secret decisions to a point just short of

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ceremonial acceptance.” Zorc v. City of Vero Beach, 722 So. 2d 891, 896 (Fla. 4th

DCA 1998). Private discussions between school board members not held in open

public meetings violates the Sunshine Law. See Tolar v. Sch. Bd. of Liberty Cnty.,

398 So. 2d 427, 427 (Fla. 1981). Any discussions of substantive issues before the

Board may not be lawfully discussed amongst Board members outside of a public

hearing. Here, that issue is moot because no such discussions occurred: any

discussions and deliberations amongst Board members were required by law to

occur on the record in a public meeting. Cf. Byrd, 674 F. Supp. 3d at 1105 (“Plaintiffs

have [therefore] not identified any specific nonprivileged topics of inquiry for the

[Board members’] [examinations].”); see also id. at 1106 (noting that a memo

plaintiffs sought to inquire about was “already in the public record,” and “testimony

about what motivated its drafting” was privileged).

      While true that the Sunshine Law does not provide an immunity from

providing examination testimony—although it does not circumvent the Board

members’ legislative privilege as discussed above—it nonetheless does not provide

a basis to require the Board members to present themselves so that Plaintiffs can fish

for prohibited “secret meetings” or deliberations which do not exist. To the extent

Plaintiffs seek to enter evidence concerning the Board’s deliberations, such

information is already in the public record and Plaintiffs must find it there. Any




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compelled testimony about the Board’s deliberations would be unnecessarily

duplicative, cumulative, and irrelevant.

      v.     At a minimum, a Rule 30(b)(6) deposition is required prior to
             depositions of the Board members, Superintendent Leonard and
             Former Superintendent Smith.

      Finally, even if the Court is disinclined to find the Board members protected

by legislative privilege, it should nonetheless not permit the Board members (or

Superintendent Leonard and Former Superintendent Smith) to be deposed unless and

until a Rule 30(b)(6) deposition is conducted and Plaintiffs are able to articulate

additional information that can only be obtained through compelled testimony of the

Board members, Superintendent Leonard and Former Superintendent Smith.

Plaintiffs have not taken any depositions in this case. They also have not exhausted

written discovery as they have not propounded any interrogatories directed at the

Board members’ (or Superintendent Leonard’s or and Former Superintendent

Smith’s) deliberations concerning the decisions at issue to remove or restrict certain

books, or served requests for admissions.

      As this Court has recognized, an apex deposition is generally not permitted

unless all other avenues of discovery are exhausted. Harvard, ECF No. 400 at 5

(noting plaintiffs “did not show they could not obtain the information using other

discovery tools. They did not show, for example, that interrogatories or depositions

by written question could not suffice”). Plaintiffs have not shown “that they


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specifically sought information” about the Board members’ and Superintendent

Leonard’s “personal and unique information regarding the crucial issues” of this

case. Id. “Kessler and Jackson teach that if the information is available through other

means, there are not extraordinary circumstances to justify a high-ranking official’s

deposition.” Id. at 6 (first citing Kessler, 985 F.2d at 512, and then citing Jackson,

624 F.3d at 1373). And even if the Board’s designated Rule 30(b)(6) witness did not

provide sufficient answers, this on its own would not automatically justify apex

depositions of the Board members, Superintendent Leonard and Former

Superintendent Smith. Rather, the proper remedy would be a Rule 37(a) motion to

compel. See id. (citation omitted).

      WHEREFORE, Defendant, Escambia County School Board, respectfully

requests that this Court enter an order under Federal Rule of Civil Procedure 26(c)

preventing Plaintiffs from compelling the depositions of the Escambia County

School Board members, Superintendent Keith Leonard and Former Superintendent

Smith, and to award any such other relief as this Court deems appropriate.

                      CERTIFICATE OF WORD COUNT

      The undersigned certifies that this Motion complies with the word count

limitation set forth in Local Rule 7.1(F) because this Motion contains 7,834 words,

excluding the parts exempted by said Local Rule.




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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B)

      The undersigned certifies that they have conferred with opposing counsel

regarding this issue. Opposing counsel opposes the relief requested herein.

                               Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 21, 2024, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

a notice of electronic filing to the following:               Kristy L. Parker at

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